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AO 93 (Rev. 11/13) Search and Seizure Warrant

ee
UNITED STATES DISTRICT COURT J

for the

District of Delaware

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

Case No. L074 ay

Apple MacBook Pro Laptop Computer Serial Number
FVFXC2MMHV29; Western Digital External Hard Drive
Serial Number WX21A19ATFF3

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

Nee ee eS

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of Delaware

(identify the person or describe the property to be searched and give its location):

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See Attachment A, incorporated herein UNSCauY

described above, and that such sears will reveal (identify the person or describe the property to be seized):

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See Attachment B, incorporated herein = Se
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YOU ARE COMMANDED to execute this warrant on or before Dee. at]. 2O\A
[T in the daytime 6:00 a.m. to 10:00 p.m.

2c:
big (not to efeeed 14 days)
Wi at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the

person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to

(United States Magistrate Judge) +

[1 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C

§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

MT for days (not to exceed 30) {1 until, the facts justifying, the later specific date of

Date and time issued: “Dec. VS, Q20O\9 lo. 44am Lu ben
ee

signature

City and state: Wilmington, Delaware

- soundans R th U.S. Magistrate Judge
Printed hrame and fitle

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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

Return
Case No.: Date and time warrant executed: Copy of warrant and-+mventory left with:
19- 3094 v) (2]ra\2e1a © (2:00pm | FBZ Gupder Andyst” Milke Wassk'

Inventory made in the presence of : ART FE
Teh tilson, Sbecral Py , az ©

Inventory of the property taken and name of any person(s) seized:

*

One Apple MacBook fe Laptp
Comevize Sertal Number FVEX CZMMHV24 |,
dd Serial Nombe-~ WX21A \QQATFFS
ond one Weskhra Diy harddove

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: \\2e\ 2090 Ny x } } =

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Executing officer’s signature

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sworn to and sulseriled beter me SOS is)
{30/2020 — - me eo. LN Todqe

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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

Return
Case No.: Date and time warrant executed: Copy of warrant and-inventery left with:
19- 304m (2]1a\oia @ 2:00pm | FBT Gupder Andyst’ Mike Waki

Inventory made in the presence of : CARY FE
“Tosh Wilson , Gecral Psee t FOL

Inventory of the property taken and name of any person(s) seized:

»

One Aople MacBook fo Laphp
Coupuizr Serial number FVEXCZMM HV24
FF
ondone Weshera Digfel harddrve Serial Nombem WK 21A IGATFFS

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: \\20\ 2000 \ f / } N\
1 4 | [f Executing officer's signature
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Sworn to and aubseriged befere. MAS,

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ATTACHMENT A
Property to be Searched

The property to be searched is the following: (1) Apple MacBook Pro Laptop Computer;
Serial Number FVFXC2MMHV29 (“TARGET MACBOOK PRO”); and (2) Western Digital
External Hard Drive; Serial Number WX21A19ATFF3 (“TARGET EXTERNAL HARD
DRIVE”). The TARGET MACBOOK PRO and the TARGET EXTERNAL HARD DRIVE are
currently located at the FB]-Wilmington Resident Agency, 500 Delaware Avenue, Suite 300

Wilmington, Delaware, 19801.
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ATTACHMENT B
Particular Things to be Seized
All information that constitutes fruits, contraband, evidence, and instrumentalities of tax

evasion (26 U.S.C. § 7201), willful failure to file tax returns and failure to pay income tax (26
U.S.C. § 7203), and willfully filing false tax returns (26 U.S.C. § 7206(1)), those violations
involving Robert Hunter Biden or any entity he owns or controls, occurring after January 1,

_ 2014, including, for the TARGET MAC BOOK PRO and the TARGET EXTERNAL HARD
DRIVE listed on Attachment A, information pertaining to the following matters:

(a) All financial and other bookkeeping information and records, including
correspondence regarding the same;

(b) All records and information relating to federal, state, and foreign individual,
corporate, employment and property taxes, including correspondence regarding
the same;

(c) All records and information pertaining to personal and business expenditures
including correspondence regarding the same;

(d) All records and information reflecting business operations and-business
ownership, including business incorporation documents, employment records,
paychecks, business expenses, business income, investments, and work schedules,
including correspondence regarding the same;

(e) Evidence indicating the state of mind of the owner and user of the TARGET
MACBOOK PRO and the TARGET EXTERNAL HARD DRIVE as it relates to

the crime under investigation;
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(f) Evidence of user attribution showing who used or owned the TARGET
MACBOOK PRO and the TARGET EXTERNAL HARD DRIVE at the time the
things described in this warrant were created, edited, or deleted, such as logs,
phonebooks, saved usernames and passwords, documents, and browsing history;

This warrant authorizes a review of electronically stored information, communications,
other records and information disclosed pursuant to this warrant in order to locate evidence,
fruits, and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any-government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI or IRS-CI may deliver a complete
copy of the disclosed electronic data to the custody and control of attorneys for the government

and their support staff for their independent review.
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